                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             March 17, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

 SHINSHO AMERICAN CORPORATION,                    §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §       CIVIL ACTION NO. 4:20-cv-00577
                                                  §
 HYQUALITY ALLOYS,                                §
                                                  §
                Defendant.                        §

        ORDER GRANTING AGREED MOTION TO EXTEND SUBMISSION
      DEADLINE FOR JOINT PRE-TRIAL ORDER AND RELATED DEADLINE

       The Court has considered the Agreed Motion to Extend Submission Deadline for Joint Pre-

Trial Order and Related Deadline (the “Motion”), the pleadings and all matters contained therein,

and is of the opinion that the Motion should be GRANTED.

       IT IS THEREFORE ORDERED that the Motion is hereby GRANTED.

       IT IS FURTHER ORDERED that the following deadlines contained in the current

scheduling order (Dkt. 77) are extended as follows:

              Pre-Trial Order Deadline – April 1, 2022
              Objections to Exhibits/Witnesses -- April 15, 2022

Signed this 16th day of March, 2022.




                                                      UNITED STATES DISTRICT JUDGE
